Case 1:19-cv-03377-LAP Document 210-1 Filed 11/20/20 Page 1 of 4




                      Exhibit A
        Case 1:19-cv-03377-LAP Document 210-1 Filed 11/20/20 Page 2 of 4




                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK



VIRGINIA L. GIUFFRE,

        Plaintiff / Counterclaim Defendant,

   v.                                               Case No. 19-cv-03377-LAP

ALAN DERSHOWITZ,

        Defendant / Counterclaim Plaintiff



                              AFFIDAVIT OF ANTHONY LYONS

        I, Anthony Lyons, having been duly sworn, do hereby state as follows:

        1.       I am over eighteen years of age and believe in the obligation of an oath.

        2.       I am the President and Publisher of Skyhorse Publishing, with offices at 307 West

36th Street, New York, NY 10018.

        3.       Skyhorse has published several titles written by Alan Dershowitz, including

“Guilt by Accusation: The Challenge of Proving Innocence in the Age of #MeToo.” I consider

Alan a friend.

        4.       On October 2, 2019, I met with Sharon Churcher at Skyhorse’s New York offices

to discuss the possibility of Skyhorse publishing a book Churcher was working on regarding the

“Me Too” movement. The project was still in its conceptual stages, and we discussed the idea of

marketing the book as a type of handbook for how to behave in the “Me Too” era.

        5.       During our meeting, which I recorded, Churcher raised the topic of Alan and his

recent book “Guilt by Accusation” which Skyhorse had published. Churcher told me that she

had personal knowledge of the subject matter of Alan’s book because she had conducted a series
        Case 1:19-cv-03377-LAP Document 210-1 Filed 11/20/20 Page 3 of 4




of interviews of Virginia Roberts Giuffre in the Spring of 2011 which she published in a series of

articles shortly thereafter.

        6.       Churcher told me the following regarding Virginia Roberts Giuffre and her

accusations against Alan:

                a. Based upon her interactions with Giuffre, she does not believe that Giuffre’s

                    claims against Alan are true;

                b. Giuffre was under contract and was being paid a lot of money to be truthful in

                    her interviews with Churcher;

                c. During their interviews, Giuffre never identified Alan as someone she had sex

                    with, despite Giuffre naming numerous other prominent men to Churcher;

                d. Churcher presented Giuffre with a list of names and photos of prominent male

                    friends of Jeffrey Epstein, including Alan, and asked her to identify which of

                    the men she had sex with. In response, Giuffre still did not identify Alan as

                    someone she had sex with;

                e. There were some men, like Ehud Barak, whom Giuffre named but whom

                    Churcher did not include in her articles because they had threatened litigation,

                    but Alan was not one of them;

                f. Churcher doesn’t use the word “pedo,” and consequently, she suspects that the

                    email exchange produced by Giuffre in which she suggests Alan’s name

                    would be a good name for Giuffre’s book may have been altered;

                g. Giuffre’s former lawyer, Brad Edwards, hates Alan stemming from a lawsuit

                    Epstein filed against Edwards, and Churcher believed that Edwards and his

                    team put Giuffre up to accusing Alan;



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Case 1:19-cv-03377-LAP Document 210-1 Filed 11/20/20 Page 4 of 4




       h. Churcher believes Giuffre may have originally confused Alan with another

           Harvard professor; and

       i. Giuffre has changed her story about Donald Trump. She told Churcher, and

           Churcher published, that she would lie around half naked at Mar a Lago, and

           Trump would say to Epstein, “you have the life.” Churcher always

           remembered this quote because it was a very distinct quote. Now Giuffre

           denies she said that.



I declare under penalty of perjury that the foregoing is true and correct.


                                       _____________________________________
                                       Anthony Lyons

                                       Dated: October 20, 2020




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